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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

 

LAFAYETTE DIVISION

UNITED STATES OF AMERICA CASE NO. 6:16-CR-00107-01

VERSUS JUDGE DRELL

DOUGLAS BEER (01) MAGISTRATE JUDGE WHITEHURST
RULING and ORDER

 

Now before the court is a motion to vacate sentence pursuant to 28 U.S.C. § 2255 filed by
Defendant Douglas Beer (“‘Beer,” “Petitioner”). (Doc. 58). The government opposes petitioner’s
requested habeas corpus relief and timely filed its memorandum in opposition. (Doc. 63).
Petitioner filed several reply briefs in support of his motion and, thus, the court considers the
motion fully briefed and ripe for decision. (Docs. 64, 65). For the reasons explained fully below,
the instant motion will be DENIED.

Petitioner pled guilty to a single count of possession of child pornography involving a
prepubescent minor or a minor who had not attained 12 years of age in violation of 18 U.S.C. §
2252A (a)(5)(B) and (b)(2) on February 23, 2017. (Docs. 23, 31). Petitioner was sentenced to a
term of fifty-seven (57) months’ imprisonment to be followed by a 10-year term of supervised
release. (Doc. 43). As a convicted sex offender, Beer will also be required, upon release from
imprisonment, to register under the Sex Offender Registration and Notification Act (““SORNA”),
34 U.S.C. § 20901, et seq. At all times during these proceedings, Beer was represented by attorney

Jason Robideaux (“Robideaux”).

 
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Beer appealed his sentence to the Fifth Circuit Court of Appeals immediately following
imposition of sentence. (Doc. 46). Robideaux timely filed Beer’s Notice of Appeal to the Fifth
Circuit, after which time the appeal was taken over by the Federal Public Defender for the Western
District of Louisiana, Rebecca Hudsmith (“Hudsmith”), (Doc. 48).

Beer’s appeal, alleging reversible error by this court at sentencing evidenced by statements
that it did not have discretion to disagree with U.S.S.G, § 2G2.2 enhancements and impose a
downward variance based on the individual facts of this case. (Doc. 57). In a judgment issued as
mandate October 11, 2017, the Fifth Circuit rejected this argument, observing that this court did,
in fact, make a downward departure in the sentence imposed upon Beer. (Id. at p. 2).

Petitioner filed the instant motion on August 20, 2018. (Doc. 58). As asserted by Beer,
we note that the motion is timely pursuant to 28 U.S.C. § 2255(f)(1).

Beer’s motion alleges the ineffective assistance of counsel based on counsel’s alleged
refusal to advance arguments requested by Defendant. These arguments include the
unconstitutional nature of SORNA as a penalty, supervised release as a violation of the double
jeopardy clause of the Fifth Amendment, the court’s lack of jurisdiction in this case by virtue of
the crime’s lack of nexus to interstate commerce.

A collateral challenge to a conviction or sentence is not a substitute for a direct appeal.!
Generally, any claim not raised on direct appeal is procedurally barred from collateral review
unless the movant shows cause for his failure to raise it and actual prejudice from the error.”

Claims of ineffective assistance of counsel at trial are an exception to this rule, however, and may

be raised in a § 2255 motion.

 

' United States v. Frady, 456 U.S. 152, 165 (1982),
2 Massaro v. U.S., 538 U.S. 500, 504 (2003).
3 Id, at 509.

 
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Beer’s motion asserts the ineffective assistance of Robideaux at trial, alleging that
Robideaux refused to advance the arguments enumerated above. In order to prove a claim for
ineffective assistance of counsel, Beer must show that his counsel provided him with
representation falling below the objective standard of reasonableness and that he was prejudiced
as aresult of such substandard representation.* To show prejudice, Beer must demonstrate not just
that Robideaux’s alleged errors had “some conceivable effect[,]” but that there is a “reasonable
probability” that without these errors, Beer’s appeal would have been successful.°

Examining the arguments Beer requested Robideaux to make before the court,° we find
that Beer fails to meet either criteria of the Strickland test. Counsel is not required to advance
arguments or theories that lack legal merit.’ Addressing Petitioner’s various arguments, we find
that, to the extent that Beer asked Robideaux to advance these legal theories, it was not error for
counsel to refuse to present them to this court.

The United States Supreme Court and the Fifth Circuit Court of Appeals have affirmed the
constitutionality of SORNA as a valid exercise of the government’s authority under both the
Necessary and Proper Clause and Commerce Clause.® The Fifth Circuit has also squarely rejected
Beer’s argument that the crime for which he was convicted, involving the use of peer-to-peer

digital file sharing platforms to view and share pornographic images of children under the age of

 

‘ Strickland v. Washington, 466 U.S. 668 (1984); Howard v. Davis, 959 F.3d 168, 171 (5" Cir. 2020).

> Andrus v. Texas, 140 S.Ct. 1875 (2020); Harrington v. Richter, 562 U.S. 86 (2011).

§ The court will assume for the sake of this motion that Beer did, in fact, ask Robideaux to make each of these four
arguments at trial, though there is no evidence to show that each argument was presented to counsel. Beer does
offer correspondence between himself and his appellate counsel, Hudsmith, wherein Hudsmith advises that the Fifth
Circuit does not generally permit pro se filings when an appellant is represented by counsel and notes that the
arguments at issue were not made at trial and, therefore, are not likely to be considered by the appellate court. (Doc.
58-2).

7US. v. Kimler, 167 F.3d 889 (5 Cir. 1999) (internal citations omitted).

8 U.S. v. Kebodeaux, 570 U.S. 387 (2013); U.S. v. Whaley, 577 F.3d 254 (5 Cir. 2009).

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twelve (12), does involve interstate commerce because it utilizes the Internet.’ Beer’s theory of
supervised release as a violation of his constitutional protections against double jéopardy also lacks
merit. Inclusion of a period of supervised release in a criminal sentence is expressly permitted by
statute at 18 U.S.C. § 3583(a).!°

To the extent that Beer also argues that his offense should not be characterized as a “sex
offense, SORNA, at § 20901(1) defines a “sex offender” as “an individual who was convicted of
a sex offense.” The statute goes on to define “sex offense” as, inter alia, “a criminal offense that
is a specified offense against a minor...” and is further defined to include “[v]ideo voyeurism...”
and “[plossession, production, or distribution of child pornography...” and “[c]riminal sexual
conduct involving an minor, or the use of the Internet to facilitate or attempt such conduct.”!!
Finally, the definition is expansively described as “[a]ny conduct that by its nature is a sex offense
against a minor.”!* Petitioner’s conviction under 18 U.S.C. § 2252 for possession of child
pornography involving a prepubescent minor or a minor who had not attained 12 years of age
clearly fits within the variety of offenses enumerated within the definition of “sex offense”
contemplated by SORNA. As such, Beer’s argument that his conviction is not proper grounds for
a requirement of registration as a sex offender under SORNA has no merit.

Given these findings, the court concludes that any failure by Robideaux to advance these
arguments was not error and, moreover, could not have resulted in prejudice to Petitioner, as these
theories have no legal merit. Accordingly, Petitioner fails to show the ineffective assistance of

counsel in violation of his constitutional rights.

 

9 U.S. v. Moore, 425 Fed. Appx. 347, 351 (5" Cir. 2011) citing United States v. Runyan, 290 F.3d 223, 242 (5" Cir.
2002).

US. v. Benbrook, 119 F.3d 338 n.10 (5 Cir. 1997) (explaining that a period of supervised release is part of the
sentence and not an additional sentence).

1 34 ULS.C. § 20901(5)(A)Cii) and (7)(F)-(H).

1234 U.S.C. § 20901(7)(1).

 
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For these reasons, it is hereby
ORDERED that Petitioner Douglas Beer’s instant motion to vacate sentence pursuant to
28 U.S.C. § 2255 (Doc. 58) is DENIED and DISMISSED.

THUS DONE AND SIGNED this Z Wray of October, 2020 at Alexandria, Louisiana.

 

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DEE D. DRELL, JUDGE
UNITED STATES DISTRICT COURT

 
